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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
    MARVIN OWENS,


                          Plaintiff,
                                                         Case No.: 2:24-cv-10787
    v.                                                   Hon. Gershwin A. Drain



    GARY SCHUETTE et al.,

                   Defendants.
    ___________________________/

          OPINION AND ORDER GRANTING DEFENDANTS’ MOTION TO
                          DISMISS [ECF No. #19]

         I.     INTRODUCTION

              Marvin Owens (“Plaintiff”), a former inmate at Jackson County Jail, sued

Jackson County Sheriff Gary Schuette, Captain Anthony Stewart, Lieutenant Mike

Coburn, and Tiggs Canteen Services, Inc.1 (together, “Defendants”) for alleged

Constitutional violations arising out of the meals Plaintiff was provided at the jail

during Ramadan. See ECF No. 1. Plaintiff claims violations of the Religious Land

Use and Institutionalized Persons Act (“RLUIPA”), violation of Plaintiff’s right to



1
 Tiggs Canteen Services was terminated as a party on April 26, 2024 upon the
parties’ stipulation. ECF No. 21. As such, this Opinion will not discuss the
previous claims against Tiggs.
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free exercise of religion (First and Fourteenth Amendments), violation of Plaintiff’s

right to equal protection (First and Fourteenth Amendments), and violation of

Plaintiff’s right to be free from cruel and unusual punishment (Eighth and Fourteenth

Amendments). Id. at PageID.18–29. For these violations, Plaintiff seeks declaratory

and injunctive relief, along with damages. Id. at 30–32.

         Presently before the Court is Defendants’ Motion to Dismiss all of Plaintiff’s

claims, pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). ECF No.

19. Plaintiff responded in opposition. ECF No. 25. In addition, the parties’

supplemental briefs regarding the availability of damages in this action are before

the Court, and the Court’s rulings on this issue are incorporated into this Opinion.

See ECF No. 18; ECF No. 23. Upon review of Plaintiff’s motion, the Court finds

that oral argument will not aid in its disposition. Accordingly, the Court will resolve

the present motion on Plaintiff’s and Defendants’ briefs. See E.D. Mich. L.R.

7.1(f)(2). For the reasons that follow, the motion shall be GRANTED.

   II.      FACTUAL BACKGROUND

         a. Overview

         Plaintiff Marvin Owens was arrested and booked in the Jackson County Jail

on July 28, 2023, for various charges that occurred while he was a parolee under the

control of the Michigan Department of Corrections (“MDOC”). ECF No. 14,

PageID.115. Owens pled no contest to his charges on December 1, 2023. Id. Once


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Plaintiff was sentenced for these crimes in May 2024, he was transferred from

Jackson County Jail back to an MDOC facility. ECF No. 19, PageID.310; ECF No.

25, PageID.668, 670.

      Plaintiff is a practicing Muslim. ECF No. 1, PageID.8. During his stay at

Jackson County Jail, he observed the Islamic holy month of Ramadan which began

on or about March 10th or 11th, 2024, and ended on or about April 9th or 10th, 2024.

Id. at PageID.8–9.2 During Ramadan, practicing Muslims eat a morning meal (called

suhoor) before dawn; they then fast during the entirety of daylight hours. Id. at

PageID.2. At sunset, they eat an evening meal (called iftar) to break their fast. Id.

Jackson County Jail has a policy that accommodates fasting Muslim inmates by

providing them meals before dawn and at sunset. ECF No. 1-1, PageID.35.

      Plaintiff alleges, however, that the Jail did not provide him with a predawn or

sunset meal for the first three days of Ramadan. ECF No. 1, PageID.9. As a result,

he was forced to rely on commissary purchases for sustenance. Id. Following the

three days that Plaintiff was not given any meals, the Jail did begin providing him

with predawn and sunset meals. But Plaintiff alleges that for several days between

March 13 and March 26, 2024, his sunset meals were served two or more hours after

sunset—which conflicts with Islam’s teaching to break one’s fast as soon as possible



2
 Ramadan is the ninth month of the Islamic calendar, which is a lunar-based
calendar. ECF No. 1, PageID.9.
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after sunset. Id. at PageID.9–10. Furthermore, Plaintiff alleges that the meals he was

served were, on average, between 1,300 and 1,900 calories per day, which is less

than a healthy adult male requires and less than the Jail’s Ramadan diet prescribes.3

Id. at PageID.11; ECF No. 1-1.

        As a result, Plaintiff filed the instant action in federal court, seeking

declaratory, injunctive, and monetary relief. ECF No. 1, PageID.30–32. Plaintiff

sues Defendant Schuette in his official capacity only, and Defendants Stewart and

Coburn in their individual and official capacities. Id. at PageID.5–7. Because

Ramadan was still ongoing at the time, Plaintiff filed an emergency motion for a

temporary restraining order (“TRO”) and a preliminary injunction, seeking to

compel Defendants to supply timely and adequate nutrition to Plaintiff. ECF No. 2,

PageID.40. The Court granted Plaintiff’s motion for a TRO, finding that based on

the Complaint’s allegations, Plaintiff exhausted the Jail’s grievance procedure in

conformance with the Prison Litigation Reform Act (“PLRA”) and that a TRO was

appropriate. ECF No. 3. The Court reserved ruling on the request for a preliminary

injunction. Id. Thereafter, Defendants responded to Plaintiff’s motion in opposition.

ECF No. 14.

        After a hearing on the merits, the Court declined to award a preliminary

injunction. ECF No. 17. In addition, the Court ordered the parties to submit briefs


3
    The Jail’s Ramadan diet contains 2,800 calories on average. ECF No. 1-1.
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addressing whether damages were an available remedy in this action, which Plaintiff

submitted on April 25, 2024, ECF No. 18, and Defendants submitted on May 2,

2024. ECF No. 23. The Court has not yet ruled on the issue of whether damages are

available.

    a. The Present Motion

      Defendants have moved to dismiss Plaintiff’s Complaint in lieu of filing an

answer. See ECF No. 19. Defendants raise several arguments in support of dismissal

pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). They argue that

Plaintiff lacks standing for declaratory or injunctive relief, that Plaintiff’s claims are

barred by the PLRA, that Plaintiff is not entitled to damages under RLUIPA, and

that Plaintiff’s claim under RLUIPA is deficient. ECF No. 19, PageID.310, 312–

313; ECF No. 14, PageID.130; ECF No. 23. Furthermore, Defendants allege several

reasons why Plaintiff’s official and individual capacity claims under § 1983 must

fail. ECF No. 19, PageID.313, 320–26. Plaintiff opposes each of these arguments in

turn. See ECF No. 25.

      Despite framing their motion to dismiss under Rule 12, Defendants frequently

reference extrinsic evidence in their argument.4 Plaintiff objected to the use of

extrinsic evidence. See, e.g., ECF No. 25, PageID.664, 668, 672. The Court will not



4
  The majority of the extrinsic evidence referenced is from the parties’ briefing on
the preliminary injunction issue.
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consider the extrinsic evidence in its decision on the present Motion and construes

the Motion as a motion to dismiss rather than a motion for summary judgment.

   III.   LAW & ANALYSIS

   a. Legal Standard for Motions to Dismiss

      A motion to dismiss for lack of subject matter jurisdiction is brought under

Federal Rule of Civil Procedure 12(b)(1). Forest City Residential Mgmt., Inc. ex rel.

Plymouth Square Ltd. Dividend Housing Ass’n v. Beasley, 71 F. Supp. 3d 715, 722–

23 (E.D. Mich. 2014). Rule 12(b)(1) motions can be categorized as facial attacks or

factual attacks. United States v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994). “A facial

attack is a challenge to the sufficiency of the pleading itself.” Id. (emphasis in

original). In such an instance, the court takes the material allegations of the petition

as true and construes them in the light most favorable to the nonmoving party. Id. In

contrast, “[a] factual attack… is not a challenge to the sufficiency of the pleading’s

allegations, but a challenge to the factual existence of subject matter jurisdiction.”

Id. (emphasis in original). There is no presumption of truthfulness to the factual

allegation, and the court is free to weigh evidence to determine its power to

adjudicate the case. Id. “The party invoking federal jurisdiction bears the burden of

establishing” the elements of jurisdiction. Lujan v. Defenders of Wildlife, 504 U.S.

555, 561 (1992).




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      A motion to dismiss for failure to state a claim is brought under Federal Rule

of Civil Procedure 12(b)(6) and tests the sufficiency of the pleadings by asking

whether the complaint states a claim upon which relief may be granted. See Bassett

v. Nat’l College Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008). Rule 8(a)(2)

requires a plaintiff’s complaint to contain a “short and plain statement of the claim

showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). While this

standard does not require “detailed factual allegations,” a plaintiff’s pleadings must

raise “more than labels and conclusions.” Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 555 (2007). In other words, the factual allegations must “raise a right to relief

above the speculative level,” and must contain “sufficient factual matter, accepted

as true, to state a claim to relief that is plausible on its face.” Id.; Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). In reviewing a motion to dismiss under Rule 12(b)(6), a

court “construe[s] the complaint in the light most favorable to the plaintiff, accept[s]

its allegations as true, and draw[s] all reasonable inferences in favor of the plaintiff.”

Bassett, 528 F.3d at 430 (quoting Directv, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir.

2007)) (alterations added).

   b. Motion to Dismiss under Rule 12(b)(6) vs. Summary Judgment under
      Rule 56

      Generally, assessment of the sufficiency of the pleadings under a Rule

12(b)(6) motion “must be undertaken without resort to matters outside the

pleadings.” Rondigo, LLC v. Twp. of Richmond, 641 F.3d 673, 680 (6th Cir. 2011).

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If a court considers extrinsic evidence when analyzing the motion to dismiss, the

court must convert the motion into a motion for summary judgment under Rule 56,

“and all parties shall be given reasonable opportunity to present all material made

pertinent to such a motion by Rule 56.” Fed R. Civ. P. 12(d); Rice v. Wells Fargo

Home Mortg., No. 06-cv-15312, 2007 WL 4126525, at *5 (E.D. Mich. Nov. 19,

2007). The Sixth Circuit has further clarified that a court “may consider exhibits

attached to the complaint, exhibits attached to the motion to dismiss briefing, items

in the record, or public records without converting the motion to dismiss when these

items are referred to in the complaint and are central to the claims contained

therein.” Wershe v. City of Detroit, 112 F.4th 357, 372–73 (6th Cir. 2024) (quoting

Bassett, 528 F.3d at 430) (internal quotation marks omitted) (emphasis added).

Whether a court must provide actual notice that it intends to convert a motion to

dismiss into a motion for summary judgment depends on the circumstances of the

case; however, “[w]here one party is likely to be surprised by the proceedings, notice

is required.” Salehpour v. Univ. of Tenn., 159 F.3d 199, 204 (6th Cir. 1998).

      Here, in some instances throughout their Motion, Defendants referred to

extrinsic evidence when making their arguments that dismissal is appropriate.

Plaintiff argues that Defendants are attempting to convert the Motion into a summary

judgment motion, and claims that “the plain language of Rule 56 states that a party




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filing a motion under this rule can do so only after discovery has concluded.” ECF

No. 25, PageID.663.

      Although the evidence Defendants offer is already in the record from the

preliminary injunction briefing, the Court’s consideration of the evidence here

would convert this Motion into a motion for summary judgment, because the

evidence was not referred to in Plaintiff’s Complaint. See Wershe, 112 F.4th at 372–

73. Thus, the Court must either convert this Motion into a motion for summary

judgment and give Plaintiff an opportunity to present all relevant materials, or

decline to consider the evidence offered by Defendants. See Fed. R. Civ. P. 12(d);

Rice, 2007 WL 4126525, at *1.

      Plaintiff is incorrect that a summary judgment motion cannot be brought until

after discovery closes. Indeed, the plain text of Rule 56 indicates that “a party may

file a motion for summary judgment at any time until 30 days after the close of all

discovery.” Fed. R. Civ. P. 56(b) (emphasis added). As the Advisory Committee

explained, the rule “allows a party to move for summary judgment at any time, even

as early as the commencement of the action.” Fed. R. Civ. P. 56(b) advisory

committee’s note to 2009 amendment (emphasis added). Of course, under Rule

56(d), Plaintiff may request more time to conduct discovery “by affidavit or

declaration that, for specified reasons, [he] cannot present facts essential to justify




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[his] opposition.” Fed. R. Civ. P 56(d); see Zakora v. Chrisman, 44 F.4th 452, 479

(6th Cir. 2022).

        Although the Court has the power to convert this Motion into a motion for

summary judgment, the Court instead finds that the Motion can be disposed of on

the pleadings without consideration of the evidence. As such, the Court proceeds to

treat the Motion as one for dismissal under Rule 12.

   c. Standing/Mootness

   i.      Legal Background

        Under Article III of the U.S. Constitution, federal courts are given jurisdiction

only over “cases” and “controversies.” U.S. Const. art. III § 2; Lujan, 504 U.S. at

559–60. The doctrine of standing developed “to ensure that federal courts do not

exceed their authority as it has been traditionally understood” under Article III.

Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). There are three requirements that

need to be met, at minimum, in order for a plaintiff to have standing to be heard in

federal court: (1) the plaintiff must have an injury in fact, (2) there must be a causal

connection between the injury and the conduct complained of, and (3) it must be

likely that the injury is redressable by a favorable court decision. Lujan, 504 U.S. at

560–61. These standing requirements are “an essential and unchanging part of the

case-or-controversy requirements of Article III.” Id. at 560.




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         The doctrine of mootness is “similar” to standing, “but they are not the same.”

Sumpter v. Wayne Cnty., 868 F.3d 473, 490 (6th Cir. 2017). While standing ensures

that a plaintiff has a personal stake in the outcome of litigation at the outset,

mootness “is akin to saying that, although an actual case or controversy once existed,

changed circumstances have intervened to destroy standing.” Id. (quoting In re 2016

Primary Election, 836 F.3d 584, 588 (6th Cir. 2016)). In other words, if a plaintiff

had standing at the beginning of litigation but loses standing during the litigation, it

is more appropriate to say the case is moot. See id. Regardless, just as standing is

required for a federal court to have jurisdiction over a case, see Lujan, 504 U.S. at

561, the absence of mootness is also required. North Carolina v. Rice, 404 U.S. 244,

246 (1971) (“Mootness is a jurisdictional question because the Court ‘is not

empowered to decide moot questions or abstract propositions.’” (quoting United

States v. Alaska S.S. Co., 253 U.S. 113, 116 (1920)).

   ii.      Discussion

         Defendants argue that Plaintiff lacks standing for declaratory and injunctive

relief because (1) Ramadan has ended and (2) Plaintiff was transferred back to an

MDOC facility in May 2024 after his sentencing, and is therefore no longer an

inmate at Jackson County Jail. ECF No. 19, PageID.309. In response, Plaintiff notes

that Defendants improperly characterize this as a standing issue when in fact it is a

mootness issue. ECF No. 25, PageID.670. Plaintiff argues that his injury is capable


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of repetition but evades review, and therefore falls into the exception to the mootness

doctrine. Id. at PageID.668. Plaintiff admits that he was transferred to another

facility, but argues that he could potentially return to Jackson County Jail at some

point in the future and suffer the same injury again. Id. at PageID.670.

      Defendants are factually attacking the existence of federal jurisdiction, so the

Court can consider, as a factual matter, whether jurisdiction exists. See Ritchie, 15

F.3d at 598. Defendants are correct that, as of now, there is no live controversy that

declaratory or injunctive relief could remedy. Because Ramadan is over and Plaintiff

is no longer at the Jail, there is no action of the Defendants that the Court could

enjoin. “Without a time machine,” the Court cannot force Defendants to do anything

or prohibit Defendants from doing anything that injured Plaintiff. Thompson v.

DeWine, 7 F.4th 521, 524 (6th Cir. 2021). Furthermore, declaratory relief would

have no effect for Plaintiff. To determine whether a request for declaratory relief is

moot, a court asks whether the facts alleged show a substantial controversy “of

sufficient immediacy and reality to warrant the issuance of a declaratory judgment.”

Id. (quoting Preiser v. Newkirk, 422 U.S. 395, 402 (1975)) (emphasis in original).

Here, Plaintiff is serving his sentence for his crimes at MDOC; there is no indication

that he will return to Jackson County Jail at any time soon. See generally

Kingdomware Techs., Inc. v. United States, 579 U.S. 162, 169 (2016).




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      However, the Supreme Court has recognized an exception to the mootness

doctrine for a controversy that is “capable of repetition, yet evading review.” Id. at

170 (quoting Spencer v. Kemna, 523 U.S. 1, 17 (1998)). This exception applies in

“exceptional situations” where (1) the challenged action is too short in duration to

be fully litigated prior to cessation or expiration, and (2) there is a reasonable

expectation that the same complaining party will be subject to the same action again.

Id. (citing Spencer, 523 U.S. at 17). The party asserting this exception bears the

burden of establishing both prongs. Lawrence v. Blackwell, 430 F.3d 368, 371 (6th

Cir. 2005).

      Here, Plaintiff’s case clearly meets the first prong. Ramadan is a month-long

religious event, ECF No. 1, PageID.8, and litigating a civil case in federal court often

takes multiple years. Nevertheless, Plaintiff fails to show that he meets the second

prong. Plaintiff argues that he could be arrested for other charges and brought to

Jackson County Jail again in the future. ECF No. 25, PageID.670. But the prospect

of future injury rests on the likelihood that Plaintiff will violate the law, be arrested

for that conduct, and be housed in the Jackson County Jail once more. See O’Shea

v. Littleton, 414 U.S. 488, 496 (1974). The Court must “assume that [Plaintiff] will

conduct [his] activities within the law and so avoid prosecution and conviction as

well as exposure to the challenged course of conduct said to be followed by

[Defendants].” Id. at 497 (alterations added); see also Sumpter, 868 F.3d at 491


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(finding that because former inmate was no longer at the jail, her claims for

declaratory and injunctive relief were moot because it was purely speculative

whether she would ever return); Kensu v. Haigh, 87 F.3d 172, 175 (6th Cir. 1996)

(finding claims for declaratory and injunctive relief moot because former inmate was

no longer confined to the institution that allegedly violated his constitutional rights).

      Plaintiff points the Court’s attention to Chaaban v. City of Detroit to support

his argument. No. 20-cv-12709, 2021 WL 4060986 (E.D. Mich. Sept. 7, 2021).

There, the court held that a plaintiff’s claims for declaratory and injunctive relief

against the MDOC and the Detroit Detention Center were not moot even though the

plaintiff was released from their custody.5 Id. at *4. The court found that it was

sufficiently likely that she could again be arrested by Detroit Police and held at the

Detroit Detention Center, where all pre-arraigned arrestees in Detroit are held for up

to 72 hours. Id. The court distinguished Kensu on the grounds that Kensu involved a

claim against officials in a state prison. As such, the plaintiff in Kensu would have

to be charged, convicted, and sentenced to return to that facility, making any possible

future harm under those officials not sufficiently immediate or likely. Id. (citing

Kensu, 87 F.3d at 173). In contrast, the plaintiff in Chaaban would merely need to

be arrested by Detroit Police to return to the Detroit Detention Center. Id.



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  The Detroit Detention Center operates under an interagency agreement between
the Detroit Police Department and the MDOC. Chaaban, 2021 WL 4060986, at *1.
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        However, the Chaaban court did not consider the Sixth Circuit’s opinion in

Sumpter. In Sumpter, like in the present case, the plaintiff was an inmate at a local

jail and sought declaratory and injunctive relief against the defendants for conduct

that occurred while she was there. Sumpter, 868 F.3d at 478–79. But she was

eventually transferred out of the jail to an MDOC facility to serve her sentence. Id.

at 478 n.1. The Sixth Circuit noted that it could only “speculate” as to whether the

plaintiff would ever return to the jail and found her claims for declaratory and

injunctive relief moot. Id. at 491 (citing O’Shea, 414 U.S. at 497).

        Considering the foregoing published authorities that address the issue of

mootness in the context of an inmate who is no longer in a defendant’s custody, this

Court declines to follow the reasoning in Chaaban, which is an unpublished case.

Therefore, the Court finds that Plaintiff’s claims for injunctive and declaratory relief

are moot.

   d. Money Damages Under RLUIPA

   i.       Legal Background

        The Religious Land Use and Institutionalized Persons Act states that:

              No government shall impose a substantial burden on the
              religious exercise of a person residing in or confined to an
              institution… even if the burden results from a rule of
              general applicability, unless the government demonstrates
              that imposition of the burden on that person—
                     (1) is in furtherance of a compelling
                         government interest; and


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                   (2) is the least restrictive means of furthering
                       that compelling government interest.

      42 U.S.C. § 2000cc-1(a). The statute creates a cause of action that allows a

person to assert a violation of the statute and “obtain appropriate relief against a

government.” Id. § 2000cc-2(a) (emphasis added). The term “government” includes

States, counties, municipalities, their instrumentalities and officers, and persons

acting under color of state law. Id. § 2000cc-5(4)(A).

      What constitutes “appropriate relief” under RLUIPA has been the subject of

litigation in the courts. In Sossamon v. Texas, the Supreme Court held that

“appropriate relief” did not include money damages against a State, because States

are protected by sovereign immunity. 563 U.S. 277, 286 (2011). The Sossamon court

noted that the term “appropriate relief” was not sufficiently clear to put States on

notice that by accepting federal funds, they would be waiving their immunity to suits

that seek money damages. Id. (“Appropriate relief is open-ended and ambiguous

about what types of relief it includes[.]”). As a result, courts have ruled that state

officials sued in their official capacities cannot be liable for money damages under

RLUIPA, because “[a] suit against an individual in his official capacity is equivalent

to a suit brought against the governmental entity.” Spearman v. Williams, No. 17-

cv-1070, 2023 WL 6829785, at *6 (W.D. Mich. Oct 17, 2023) (citing Will v. Mich.

Dep’t of State Police, 491 U.S. 58, 71 (1989); Matthews v. Jones, 35 F.3d 1046,

1049 (6th Cir. 1994)).

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          In Haight v. Thompson, the Sixth Circuit took the Sossamon reasoning further

by ruling that persons suing under RLUIPA could not obtain money damages from

state officials sued in their individual capacities. 763 F.3d 554, 569 (6th Cir. 2014).

The Sixth Circuit noted that in enacting RLUIPA, Congress legislated through its

spending power. Id. at 568; see 42 U.S.C. § 2000cc-1(b)(1). A “distinguishing

feature[]” of the spending power is that it allows Congress to “exceed its otherwise

limited and enumerated powers by regulating in areas that the vertical structural

protections of the Constitution would not otherwise permit.” Id. at 568–69. As such,

Congress must “speak with clarity” before it imposes money damages remedies—

indeed before it imposes any conditions on the receipt of federal funds—“whether

related to waivers of sovereign immunity or not.” Id. at 568. Because, as discussed

in Sossamon, the term “appropriate relief” is ambiguous, the Sixth Circuit concluded

that RLUIPA does not permit claims for money damages. Id. at 568.6

    ii.      Discussion

          Plaintiff argues that money damages under RLUIPA are available in this case.

Plaintiff notes that the Sossamon decision only pertained to state defendants and


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  RLUIPA is also enacted under Congress’s commerce power. See 42 U.S.C. §
2000cc-1(b)(2). The Sixth Circuit rejected an argument that this additional
authority changes the above analysis, stating that Congress does not invoke two
sources of authority to permit two interpretations of the same phrase. “[C]ourts
[should] avoid treating statutes like chameleons that turn green in some settings but
not others.” Haight, 763 F.3d at 569. Furthermore, the court held that a comparable
“clear-statement rule” applies under the commerce power. Id.
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waivers of sovereign immunity. ECF No. 18, PageID.287. Because municipal

entities are not entitled to sovereign immunity, and because the instant Defendants

are municipal officials, Sossamon is inapposite. ECF No. 18, PageID.288. Plaintiff

points to the Supreme Court’s recent decision, Tanzin v. Tanvir, as supporting his

proposition. Id. at PageID.289–91 (citing Tanzin v. Tanvir, 592 U.S. 43 (2020)).

Plaintiff also argues that Haight does not govern municipal liability for damages

under RLUIPA, and that the Sixth Circuit “hinted” as such in Tree of Life Christian

Schools v. City of Upper Arlington, 905 F.3d 357, 365 (6th Cir. 2018). ECF No. 18,

PageID.291–92. In response, Defendants counter that Haight is controlling in this

case. ECF No. 23, PageID.545. They also argue that Tanzin does not change the

analysis, and that Tree of Life Christian School is distinguishable. Id. at PageID.544–

47.

      Plaintiff is correct that Sossamon, on its own, does not preclude money

damages in the instant matter. Sossamon’s holding was entirely predicated on the

idea that as it pertains to waiving their sovereign immunity, States were not

sufficiently put on notice that they might be liable for money damages under

RLUIPA. See Sossamon, 563 U.S. at 284–85 (discussing how the test for

determining whether a State has waived its sovereign immunity is “stringent”).

However, “only States and arms of the State possess immunity from suits authorized

by federal law,” and the Supreme Court has “repeatedly refused to extend sovereign


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immunity to counties.” N. Ins. Co. of N.Y. v. Chatham Cnty., 547 U.S. 189, 193

(2006); see also Sossamon, 563 U.S. at 289 n.6 (distinguishing prior cases that

permit money damages against nonsovereign entities). Here, Jackson County—

Defendants’ employer—would not be entitled to sovereign immunity, so any

sovereign immunity analysis is inapplicable.

      However, the Sixth Circuit’s holding in Haight is applicable here. The Haight

court did not base its ruling on a sovereign immunity analysis. See Haight, 763 F.3d

at 568. Rather, “whether related to waivers of sovereign immunity or not,” Congress

must speak clearly when legislating under its spending power—and it failed to do so

when enacting RLUIPA. Id. at 568–69. Indeed, the Haight court unambiguously

stated, without qualification: “At stake at this point is only whether RLUIPA permits

money-damages claims. We agree with the district court that it does not.” Id. at 568.

Thus, although the defendants in Haight were state officials being sued in their

individual capacities, the logic of Haight extends to municipal officials sued in their

official and individual capacities. Other district courts have found that Haight’s

ruling extends to county or municipal officials. See Hague v. Kent Cnty., No. 1:24-

cv-9, 2024 WL 4116459, at *6 (W.D Mich. Sept. 9, 2024) (holding that the

distinction between municipal and state makes no difference under Haight’s logic);

Eidam v. Cnty. of Berrien, No. 1:19-cv-978, 2019 WL 7343354, at *8 (W.D. Mich.




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Dec. 31, 2019) (“[A] money-damages action cannot be sustained against counties or

municipalities.”).

      Furthermore, the Supreme Court’s supervening decision in Tanzin does not

abrogate Haight. In Tanzin, the Supreme Court considered whether parties can sue

government officials for money damages under the Religious Freedom Restoration

Act (“RFRA”). Tanzin, 592 U.S. at 50. The Tanzin court concluded that money

damages are available against government officials sued in their individual

capacities under RFRA, considering RFRA’s language that permits courts to award

“appropriate relief.” Id. at 50–51. Tanzin distinguished Sossamon on the grounds

that Sossamon pertained to sovereign immunity, whereas sovereign immunity is not

at issue when officials are sued individually. Id. at 51–52.

      Some district courts have held that Haight remains controlling after Tanzin. 7

In Mease v. Washington, the Western District of Michigan noted that RLUIPA was

promulgated under Congress’s spending and commerce powers, whereas RFRA was

promulgated under Section 5 of the Fourteenth Amendment. Mease v. Washington,

No. 2:20-cv-176, 2021 WL 1921071, at *14 (W.D. Mich. May 13, 2021). Thus,

Haight’s logic for denying claims for money damages under RLUIPA was not

directly impacted by Tanzin’s holding as it pertains to claims under RFRA. Id.; see


7
 For a contrary holding, see Ruplinger v. Louisville/Jefferson Cnty. Metro Gov’t,
No. 3:19-cv-583, 2021 WL 682075, at *4 (W.D. Ky. Feb. 22, 2021).

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also Hague, 2024 WL 4116459, at *6 (“Tanzin does not overrule or abrogate

Haight”); Chaaban, 2021 WL 4060986, at *5 (finding that Haight is controlling

notwithstanding Tanzin); Catlett v. Washington, No. 20-13283, 2021 WL 3680196,

at *6 (E.D. Mich. Aug. 19, 2021) (finding that plaintiffs cannot bring a claim for

money damages under RLUIPA because Haight remains binding).

      Finally, in the absence of a clearer holding from the Sixth Circuit, Tree of Life

Christian Schools does not change this result. In Tree of Life, the Sixth Circuit said

that the plaintiff “ha[d] not abandoned its money-damages claim” under RLUIPA

against the municipal defendant, “nor did the district court’s permanent injunction

moot it.” Tree of Life Christian Schools, 905 F.3d at 365–66. However, the parties

had not actually litigated whether money damages were available, and the Sixth

Circuit did not mention Haight or provide any analysis on the issue. Id. As such,

district courts have continued to apply Haight to municipal defendants. See Hague,

2024 WL 4116459, at *6; Eidam, 2019 WL 7343354, at *8 n.2.

      Considering the foregoing, RLUIPA does not permit money damages claims

against Defendants. Because Plaintiff’s claims for declaratory and injunctive relief

are moot, and because money damages are not available under RLUIPA, Plaintiff’s

RLUIPA claim must be dismissed in its entirety.8



8
 Because Plaintiff’s RLUIPA claim is disposed of on these grounds, the Court
need not address Defendants’ argument that even if money damages are permitted,
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   e. Administrative Exhaustion Under PLRA

   i.      Legal Background

        The Prisoner Litigation Reform Act states that “[n]o action shall be brought

with respect to prison conditions under section 1983 of this title, or any other Federal

law, by a prisoner confined in any jail, prison, or other correctional facility until such

administrative remedies as are available are exhausted.” 42 U.S.C. § 1997e(a). As

such, the PLRA “grants state prison systems the initial opportunity to address their

internal problems.” Thomas v. Woolum, 337 F.3d 720, 725 (6th Cir. 2003),

abrogated on other grounds by Woodford v. Ngo, 548 U.S. 81 (2006). Thus, where

an inmate has entirely failed to invoke the institution’s grievance procedure, or

where the inmate failed to appeal denials of his grievance to the highest level, he has

“not exhaust[ed] available administrative remedies” under the PLRA. Id. at 726. The

applicable grievance process is determined by the institution’s own grievance

procedure. Jones v. Bock, 549 U.S. 199, 218 (2007). Failure to exhaust is an

affirmative defense. Id. at 212.

        While an inmate is required to exhaust all available administrative remedies,

he “need not exhaust unavailable ones.” Coopwood v. Wayne Cnty., 74 F.4th 416,

422 (6th Cir. 2023) (quoting Does 8-10 v. Snyder, 945 F.3d 951, 962 (6th Cir. 2019)).



they are not warranted as a matter of law under these facts. ECF No. 19,
PageID.312–13; ECF No. 14, PageID.126–30.
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In other words, “a court must evaluate the availability of prison grievance

mechanisms ‘in practice’” Id. (quoting Does 8-10, 945 F.3d at 963) (emphasis

added). The Supreme Court has clarified that an administrative remedy, even if it is

on the books, is not “available” in practice where (1) an administrative procedure

operates as a “simple dead end”; (2) the procedure is “so opaque that it becomes…

incapable of use”; and (3) when administrators “thwart inmates from taking

advantage of a grievance process through machination, misrepresentation, or

intimidation.” Ross v. Blake, 578 U.S. 632, 643–44 (2016).

   ii.      Discussion

         Defendants argue that Plaintiff failed to comply with the administrative

exhaustion requirements of the PLRA, noting that although Plaintiff alleges that he

made “formal requests” for accommodation, he alleges nothing regarding the appeal

process. ECF No. 14, PageID.138. Furthermore, they claim that Plaintiff alleges

nothing to show that the Jail’s grievance procedure was “unavailable.” ECF No. 19,

PageID.312. Plaintiff responds by noting that the Court has already ruled on this

issue in its order granting Plaintiff’s TRO and determined that Plaintiff exhausted

his administrative remedies. Therefore, the issue is no longer in question. ECF No.

25, PageID.667. Plaintiff argues in the alternative that even if the matter of

exhaustion was not decided with finality, it would be inappropriate to rule on it

because it remains a genuine issue of material fact. Id. at PageID.668.


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      In Plaintiff’s Complaint, he states that before Ramadan began, he made

requests for a religious meal accommodation which were ignored. ECF No. 1,

PageID.16 ¶ 46. He says that on the first day of fasting, he made another

accommodation request, and “attempted” to file a grievance with Jail staff for not

having his accommodation in place. Id. ¶ 47. He further alleges that he lodged

several more complaints with staff and officers, but no one provided him with a

grievance form. Id. ¶ 48.

      Taking Plaintiff’s allegations as true and considering the pleadings in the light

most favorable to Plaintiff, Plaintiff has stated a plausible claim that he exhausted

the administrative procedures that were “available” to him. If Jail staff did not

provide Plaintiff with the grievance form he needed despite his multiple requests,

the grievance process was possibly a “dead end,” as described in Ross. Ross, 578

U.S. at 643–44. Furthermore, Plaintiff notes that the formal grievance procedure at

the Jail requires appealing to four different people, and that there is no emergency

grievance procedure in place. Given the brief duration of Ramadan, Plaintiff alleges

that his issues would not have been addressed in a timely fashion. ECF No. 1,

PageID.17 ¶ 51. Considering the alleged failure of the Jail staff to even provide

Plaintiff with a grievance form to begin the administrative process, this allegation is

plausible on its face and implicates another potential “dead end.” Ross, 578 U.S. at

643–44.


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        Therefore, at this stage, the Court cannot dismiss the remaining claims as

failing to comply with the PLRA’s administrative exhaustion requirement. However,

the remaining claims may be dismissed upon consideration of their merits.

   f. § 1983 Claims

                             Individual Capacity Claims

   i.      Legal Background

        Section 1983 creates a cause of action for those who are subjected to the

deprivation of their rights, privileges, or immunities guaranteed by the Constitution

or the laws, at the hands of any person acting “under color of any statute, ordinance,

regulation, custom, or usage of any State or Territory or the District of Columbia.”

42 U.S.C. § 1983. It is considered a “species of tort liability” for constitutional

violations. Pineda v. Hamilton Cnty., 977 F.3d 483, 490 (6th Cir. 2020) (quoting

Manuel v. City of Joliet, 580 U.S. 357, 362 (2017)). Therefore, it is appropriate to

look to “longstanding tort principles when defining the contours of a § 1983 claim.”

Id. In accordance with general tort principles, a plaintiff must prove that the

defendant was “personally at fault and that the defendant’s culpable conduct (not

somebody else’s) caused the injury.” Id. (emphasis in original). Unlike many

common law torts, an official may not be liable under a respondeat superior theory.

Iqbal, 556 U.S. at 677 (stating that in a § 1983 suit, “masters do not answer for the

torts of their servants”). Therefore, a plaintiff “must plead that each Government-


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official defendant, through the official’s own individual actions, has violated the

Constitution.” Id. at 676.

      Following this logic,

             [The] failure of a supervisory official to supervise, control,
             or train the offending individual [employees] is not
             actionable absent a showing that the official either
             encouraged or in some way directly participated in it. At a
             minimum a plaintiff must show that the official at least
             implicitly authorized, approved or knowingly acquiesced
             in the unconstitutional conduct of the offending
             [employees].

Leach v. Shelby Cnty. Sheriff, 891 F.2d 1241, 1246 (6th Cir. 1989) (quoting Hays v.

Jefferson Cnty., 668 F.2d 869, 874 (6th Cir. 1982)) (alteration in original). A

supervisor’s awareness of a violation, but failure to “take appropriate action… is

insufficient to impose liability on supervisory personnel under § 1983.” Shehee v.

Luttrell, 199 F.3d 295, 300 (6th Cir. 1999) (finding that denying administrative

grievances and merely failing to remedy alleged retaliatory conduct against plaintiff

does not constitute a sufficient basis for § 1983 liability); see also Johnson v.

Washington, No. 22-cv-12360, 2023 WL 9510833, at *9 (E.D. Mich. Dec. 18, 2023)

(“[Section] 1983 claims relying solely on a failure to act or respondeat superior are

futile as a matter of law[.]”). “It is insufficient to make generic or blanket allegations

pertaining to defendants or allegations lumping together individual defendants.”

Rouse v. Washington, No. 20-cv-11409, 2021 WL 2434196, at *8 (E.D. Mich. June

15, 2021). Furthermore, “mere citation to each individual defendant’s job

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description—without an accompanying allegation showing how each defendant

failed to comply with his or her job description—is insufficient.” Id.

   ii.     Discussion

         Defendants argue that Plaintiff has failed to plead facts under which

Defendants Stewart and Coburn could be held liable on an individual basis, because

Plaintiff has not shown that they were personally involved in the underlying

improper conduct. ECF No. 19, PageID.315, 320–21. Plaintiff responds by arguing

that he has pleaded sufficient personal involvement for Defendants Stewart and

Coburn under a theory of supervisory liability because the Complaint alleges that

Defendants, in response to questions about his Ramadan accommodations, (1)

acknowledged that he was not provided a Ramadan-compliant meal for three days

at the beginning of Ramadan, (2) acknowledged he did not receive his sunset meal

timely, and (3) did not respond to his complaints about food quality or quantity. ECF

No. 1, PageID.12. Later, Plaintiff’s Complaint alleges that Defendants Stewart and

Coburn “acknowledge[d] receipt” of his complaints. Id. at PageID.17.

         Aside from these specific instances of alleged misconduct, Plaintiff’s

Complaint only refers to failures of unnamed jail staff, or refers to “Defendants”

generically without specifying what Defendants’ actual involvement was in the

alleged constitutional violations. These allegations are not enough to create liability

for Defendants Coburn and Stewart. Plaintiff must allege “that the official at least


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implicitly authorized, approved or knowingly acquiesced in the unconstitutional

conduct of the offending [employees].” Id. (alteration in original). “[F]ailing to

intervene is not the same as affirmatively granting authorization.” Does v. Whitmer,

69 F.4th 300, 307 (6th Cir. 2023). Plaintiff has alleged no facts that indicate

Defendants Stewart and Coburn specifically authorized or approved of Jail staff’s

failure to feed Plaintiff in a timely manner, or to feed Plaintiff the full 2,800 calories

as prescribed in the Ramadan meal plan.

      To the extent Plaintiff argues that his allegations demonstrate “knowing

acquiescence” on the part of Defendants, their failure to act under these

circumstances does not rise to that level. In Shehee, the Sixth Circuit considered

whether the defendants’ failure to remedy alleged retaliatory behavior against the

plaintiff created supervisory liability. Shehee, 199 F.3d at 300. The court concluded

that their mere failure to act to remedy the alleged violations—even though “the

situation was in their control”—did not constitute participation, encouragement,

authorization, or acquiescence in the wrongs. Id. Similarly, in Poe v. Haydon, the

Sixth Circuit considered whether the defendants were liable for failing to take action

to correct the sexual harassment the plaintiff experienced at the hands of another

employee. 853 F.2d 418, 422 (6th Cir. 1988). The Sixth Circuit held that the plaintiff

“at best… has merely claimed that the appellants were aware of alleged harassment,

but did not take appropriate action. This is insufficient to impose liability on


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supervisory personnel under § 1983.” Id. at 429; see also Lee v. Mich. Parole Bd.,

104 Fed. App’x 490, 493 (6th Cir. 2004) (“Section 1983 liability may not be imposed

simply because a defendant denied an administrative grievance or failed to act based

upon information contained in a grievance.”).

      Where courts have found that supervisory inaction is tantamount to “knowing

acquiescence,” the official failed to act in circumstances where there were multiple

previous violations that were ignored. For example, in Peatross v. City of Memphis,

the Sixth Circuit found it plausible that the director of the Memphis Police

Department “knowingly acquiesced” to constitutional violations for purposes of a §

1983 claim where he failed to train or supervise officers to avoid using excessive

force, failed to investigate allegations of excessive force, and attempted to cover up

instances of excessive force. 818 F.3d 233, 243 (6th Cir. 2016). Indeed, there had

been fifty-four officer shootings within a four-year period, and the director

recognized the need to improve the department’s operations but made no

improvements. Id. Likewise, in Leach, the Sixth Circuit considered whether a sheriff

was liable under § 1983 because he failed to supervise jail personnel in order to

ensure the rights of paraplegic inmates. Leach, 891 F.2d at 1246. The court upheld

the district court’s finding that the failure to supervise constituted sufficient personal

involvement, basing this judgment on the fact that other paraplegic inmates had been




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similarly mistreated and because the sheriff had not punished responsible individuals

in these instances. Id.

      Here, Plaintiff’s allegations, taken as true, only plausibly show that

Defendants were made aware that Jail staff members were failing to conform to the

Jail’s Ramadan policy as it pertains to Plaintiff and did not take immediate action.

This is insufficient to create § 1983 liability. Poe, 853 F.2d at 429. Plaintiff’s other

allegations against these Defendants either make “generic or blanket allegations…

lumping [Defendants] together,” or refer to Defendants’ job duties “without [any]

accompanying allegation showing how each defendant failed to comply with his…

job description.” Rouse, 2021 WL 2434196, at *8. Furthermore, Plaintiff has pleaded

no facts to plausibly demonstrate that Defendants’ alleged inaction is anything more

than an isolated incident, so as to convert their inaction into “knowing

acquiescence.” Although Plaintiff made various conclusory statements that

Defendants have treated other Muslim detainees wrongfully during Ramadan,

Plaintiff has alleged no facts whatsoever to support these claims. See ECF No. 1,

PageID.18–29; see Rouse, 2021 WL 2434196, at *8. As such, these allegations are

not entitled to the presumption of truth. See Iqbal, 556 U.S. at 681.

      Considering the foregoing, Plaintiff’s Complaint fails to plead facts upon

which relief can be granted under § 1983 against Defendants Coburn and Stewart in

their personal capacities.


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                                 Official Capacity Claims

      i.     Legal Background

      As it pertains to official-capacity actions specifically, such suits are “in all

respects other than name” a suit against the government entity. Kentucky v. Graham,

473 U.S. 159, 166 (1985). Therefore, a suit against an official in his official capacity

is treated legally as a suit against the government entity. See Monell v. Dep’t of

Social Servs. of N.Y.C., 436 U.S. 658, 690 n.55 (1978). For an official-capacity

action against a municipal official under § 1983 to prevail, the plaintiff must show

that the municipality was a “moving force” behind the deprivation; in other words,

the municipality’s “policy or custom” must have played a role in the violation of

federal law. Graham, 473 U.S. at 166. This is because a municipality cannot be held

liable “solely because it employs a tortfeasor—or, in other words, a municipality

cannot be held liable under § 1983 on a respondeat superior theory.” Monell, 436

U.S. at 691 (emphasis in original). As such, an official capacity claim against a

municipality will prevail where the plaintiff shows that the official’s “execution of

[the] government’s policy or custom… inflicts the injury,” Id. at 694, or where there

is “an affirmative link between the policy and the particular constitutional violation

alleged.” City of Okla. v. Tuttle, 471 U.S. 808, 823 (1985).

      A plaintiff may prove the existence of a municipality’s illegal policy or

custom by looking to “(1) the municipality’s legislative enactments or official


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agency policies; (2) actions taken by officials with final decision-making authority;

(3) a policy of inadequate training or supervision; or (4) a custom of tolerance or

acquiescence of federal rights violations.” Thomas v. City of Chattanooga, 398 F.3d

426, 429 (6th Cir. 2005).

      ii.    Discussion

      Regarding the official capacity claims against all three Defendants,

Defendants argue that under the Thomas categories, (1) Plaintiff admits that Jackson

County Jail had adequate formal policies in place for feeding its Muslim inmates

during Ramadan; (2) the Complaint fails to mention how Defendant Schuette—the

only individual with “decision-making authority”—took any unconstitutional action

in this case; (3) the Complaint does not allege inadequate training; and (4) the

Complaint fails to show that there was a custom of tolerance of misconduct because

it does not demonstrate any history of rights violations. Id. at PageID.315–19.

      Plaintiff responds that he has alleged sufficient personal involvement of all

three Defendants, and refers to all of them as “decisionmakers” for purposes of

official liability. See ECF No. 1, PageID.5–8; ECF No. 25, PageID.667. Plaintiff

also argues that the way in which Defendants handled Plaintiff’s complaints

constitutes a custom of tolerance and acquiescence in federal rights violations

sufficient to support official capacity claims against them. ECF No. 25, PageID.672.




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Alternatively, Plaintiff claims that whether a custom or policy exists cannot be

decided on a motion to dismiss. Id. at PageID.672.

      Plaintiff has indeed acknowledged that a formal Ramadan meal policy exists

at the Jail and has not argued that the formal policy, in and of itself, violates

Plaintiff’s rights. See ECF No. 1, PageID.2. In addition, as Defendants note, Plaintiff

has not alleged a failure in training. As such, at issue is whether the Defendants had

decision-making authority and violated Plaintiff’s rights, and whether there was a

custom of tolerance of or acquiescence in federal rights violations.

                               A. Decision-making Authority

      An official-capacity claim may be maintained against a person with decision-

making authority, even if the alleged harm resulted from a single act by that person.

Pembaur v. City of Cincinnati, 475 U.S. 469, 480 (1986). “If a decision to adopt a

particular course of action is properly made by that government’s authorized

decisionmakers, it surely represents an act of official government “policy” as that

term is commonly understood.” Id. at 481 (emphasis added). However, even if an

official has discretion in the exercise of a particular function, municipal liability does

not arise automatically. Id. at 480–82. Rather, the official’s decisions must be “final

and unreviewable and… not constrained by the official policies of superior officials”

for that official to be considered a decisionmaker. Feliciano v. City of Cleveland,

988 F.2d 649, 655 (6th Cir. 1993); see also City of St. Louis v. Prapotnik, 485 U.S.


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112, 127 (1988). As such, an official is a decisionmaker for purposes of an act in

question if state or local law vests him with the authority to establish policy with

respect to the action taken, and the authority is final. Jorg v. City of Cincinnati, 145

Fed. App’x 143, 146 (6th Cir. 2005).

      Here, Defendant Schuette is the Sheriff of Jackson County. Defendant appears

to concede that Sheriff Schuette would be a “decisionmaker,” see ECF No. 19,

PageID.315–17, and Sixth Circuit cases have accepted without question that sheriffs

are decisionmakers. See Leach, 891 F.2d at 1246; Burgess v. Fischer, 735 F.3d 462,

479 (6th Cir. 2013). Thus, the question is whether Sheriff Schuette took any action

in this case upon which Jackson County could be held liable.

      The Complaint alleges that Schuette is responsible for formulating and

overseeing the implementation of all policies at the Jail. ECF No. 1, PageID.5. As

with the other Defendants, the Complaint states that Schuette was “questioned”

about Plaintiff’s Ramadan accommodations, acknowledged that Mr. Owens’ meals

were not provided until March 13th and were provided late, and failed to respond to

inquiries about the quality and quantity of Plaintiff’s food. Id. at PageID.12. Aside

from this, Schuette is not mentioned elsewhere in the Complaint except where his

title and job duties are described, or where he is generically “lumped in” with the

other Defendants. Id. at PageID.5; see Rouse, 2021 WL 2434196, at *8




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      The same problem that plagued Plaintiff’s claims against Defendants Coburn

and Stewart in their personal capacities plagues Plaintiff’s claim against Defendant

Schuette in his official capacity: a mere failure to act in a single instance will not

establish supervisory liability. Peatross, 818 F.3d at 241. To hold a municipal

decisionmaker liable under § 1983, there must be more than respondeat superior

liability. For the reasons described in the analysis concluding that Defendants

Coburn and Stewart were not sufficiently personally involved in this matter in their

individual capacities, the claim fails against Defendant Schuette in his official

capacity as well. See, e.g., Poe, 853 F.2d at 429.

      Likewise, the official capacity claims against Stewart and Coburn fail under a

“decisionmaker” theory because of the lack of their personal involvement. See id. In

addition, the Court notes that Plaintiff alleged no facts to demonstrate that

Defendants Stewart and Coburn were “decisionmakers”—i.e., individuals with final

policymaking authority pertaining to Ramadan meals—upon whom municipal

liability would lie on a decisionmaker theory. See Jorg, 145 Fed. App’x at 146.

                B. Custom of Tolerance for Federal Rights Violations

      “A ‘custom’ for purposes of Monell liability must be “so permanent and well

settled as to constitute a custom or usage with the force of law.” Doe v. Claiborne

Cnty. Bd. of Educ., 103 F.3d 495, 507 (6th Cir. 1996) (quoting Monell, 436 U.S. at

690–91). The Sixth Circuit has expanded on the understanding of “custom” by


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holding that for a plaintiff to prevail on a custom-of-tolerance claim, the plaintiff

must show “that there was a pattern of inadequately investigating similar claims.”

Burgess, 735 F.3d at 478. As such, allegations of “a single failure” to investigate do

not suffice. Pineda, 977 F.3d at 495 (emphasis in original). In other words, there

must be “multiple earlier inadequate investigations and they must concern

comparable claims.” Id. (quoting Stewart v. City of Memphis, 788 Fed. App’x 341,

344 (6th Cir. 2017)). The importance of pleading multiple prior failures derives from

§ 1983’s “rigorous” causation standard. Id. Because “an entity’s failure to

investigate the plaintiff’s specific claim will, by definition, come after the

employee’s action that caused the injury about which the plaintiff complains… there

can be no causation from that single failure to investigate.” Id.

      In Plaintiff’s response to the present Motion, Plaintiff does not offer anything

to refute this case law except to cite Monell for the proposition that “discriminatory

practices of state officials…. [a]lthough not authorized by written law… could well

be so permanent and well settled as to constitute a ‘custom or usage’ with the force

of law.” Monell, 436 U.S. at 690 (quoting Adickes v. S.H. Kress & Co., 398 U.S.

144, 167–68 (1970)); ECF No. 25, PageID.671. However, this proposition does not

refute Defendants’ position. Monell recognizes that informal practices may lead to

§ 1983 liability in some circumstances, and Sixth Circuit case law describes when




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such informal practices may lead to § 1983 liability. See Pineda, 977 F.3d at 495. It

requires a “clear and persistent pattern of violations.” Doe, 103 F.3d at 508.

      Plaintiff’s Complaint lacks any factual allegations that Jackson County Jail

has failed in other instances to sufficiently feed Muslim inmates, or that this has been

a part of some clear pattern of conduct. ECF No. 1. And although Plaintiff asserts

that Defendants should have done more in the moment to address his own

grievances, he “simply ha[s] not demonstrated a pattern of inadequate investigation

of similar claims as required” to maintain an official capacity § 1983 claim. Burgess,

735 F.3d at 478. As such, Plaintiff’s official capacity claim based on a custom-of-

tolerance theory fails.

      Plaintiff argues that the determination of whether there is municipal liability

in this case is not appropriate at the motion to dismiss stage. ECF No. 25,

PageID.672. However, insufficient pleadings to maintain a claim upon relief may be

granted are appropriate to dismiss under Rule 12(b)(6) before discovery is taken. See

Fed. R. Civ. P. 12(b)(6). Because the Court found that Plaintiff fails to state a claim,

dismissal is proper under 12(b)(6).9




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  Because the Court grants Defendants’ motion for dismissal of the § 1983 claims
on these grounds, the Court need not address Defendants’ alternative arguments
that the individual-capacity Defendants are entitled to qualified immunity or that
there was no Constitutional violation that occurred.
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   IV.   CONCLUSION

      Accordingly, for the reasons described above, Defendants’ Motion to Dismiss

[ECF No. 19] under Rules 12(b)(1) and 12(b)(6) is GRANTED in its entirety.

      SO ORDERED.

Dated: October 10, 2024                           /s/Gershwin A. Drain
                                                  GERSHWIN A. DRAIN
                                                  United States District Judge


                          CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
              October 10, 2024, by electronic and/or ordinary mail.
                               /s/ Marlena Williams
                                   Case Manager




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